     Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 1 of 70




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS


SYDNEY NICOLE LLC                   §
AND SYDNEY NICOLE                   §
GIFFORD,                            §
                                    §            CIVIL ACTION NO.:
     Plaintiffs,
                                    §
v.                                  §            1:24-cv-423
ALYSSA SHEIL LLC AND                §
ALYSSA SHEIL,                       §
                                    §            JURY
     Defendants.                    §
                                    §




                EXHIBIT
                   A
                  TO
               COMPLAINT
                              EXHIBIT A
            Side-by-Side Comparison of Plaintiffs’ Posts
           and Infringing Material Posted by Defendants*
                                                                                                Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 2 of 70




*Since Defendants’ posting of some of the content herein, some posts have been removed by the
respective site moderators pursuant to copyright infringement reports.
  Amazon Photo Posts
  Plaintiffs:                                                             Defendants:
                                                                                                                                       Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 3 of 70




URL:
https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablemedia.v1.     URL:
14eb4b38-28db-4299-8129-b90580162959?ref_=aip_sf_photo_spv_ofs_photo_       https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppable
d                                                                           media.v1.06cfdd37-8cdc-4159-8c46-178f6b5fc67c?ref_=aip_sf_ph
“KnitSet.2023.11.17” in U.S. Copyright Reg. No. VA0002380575
                                                                            oto_spv_ofs_photo_d

Screencaptures taken December 15, 2023                                                                                                 2
Amazon Photo Posts
Plaintiffs:                                                         Defendants:




                                                                                  URL:
                                                                                  https://www.amazon.com/shop/
                                                                                  alyssasheill/photo/amzn1.shop
                                                                                  pablemedia.v1.95670b7b-6394
                                                                                  -4cb8-980e-fa7b7e120050?ref_
                                                                                  =aip_sf_photo_spv_ofs_photo_
                                                                                  d
                                                                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 4 of 70




URL:
https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppableme
dia.v1.f80fd2b0-a255-41cd-a447-7a3862f95ce0?ref_=aip_sf_photo_spv
_ofs_photo_d
“ActivewearSelfie.2023.01.30” in U.S. Copyright Reg. No.
VA0002380575
Screencaptures taken December 15, 2023                                                                       3
   Amazon Photo Posts
   Plaintiffs:                                                           Defendants:
                                                                                                                                       Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 5 of 70




 URL:                                                                     URL:
 https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablemedia.v
                                                                          https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppable
 1.80d49345-279b-48f0-9f2a-16d0312fb6ef?ref_=aip_sf_photo_spv_ons_phot
 o_d                                                                      media.v1.201896e6-d2c8-465a-aa53-bd040f7e6ed1?ref_=aip_sf_ph
 “CoffeeTables.2023.06.14” in U.S. Copyright Reg. No. VA0002380575        oto_spv_ofs_photo_d

Screencaptures taken December 15, 2023                                                                                                 4
    Amazon Photo Posts
    Plaintiffs:                                                         Defendants:
                                                                                                                                      Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 6 of 70




URL:
                                                                         URL:
https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablemedia.v
1.ce629fbe-4109-4382-9acb-e2fbeeb9f4c8?ref_=aip_sf_photo_spv_ons_pho     https://www.amazon.com/shop/alyssasheill/photo/amzn1.shopp
to_d                                                                     ablemedia.v1.a4529448-fe18-4fe3-af11-60f260dca3ad?ref_=aip
“FridgePlanner.2023.11.21” in U.S. Copyright Reg. No. 0002380575         _sf_photo_spv_ofs_photo_d

Screencaptures taken December 15, 2023                                                                                                5
  Amazon Photo Posts
  Plaintiffs:                                                              Defendants:
                                                                                                                                            Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 7 of 70




 URL:
 https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablemedia.v1.    URL:
 d15a1135-f077-4acd-b934-401e5b70a899?ref_=aip_sf_photo_spv_ons_photo       https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppabl
 _d
 “LivingRoomOverview.2023.06.17” in U.S. Copyright Reg. No. VA0002380575
                                                                            emedia.v1.5480e6e0-e22e-45d6-af90-50ed5092f096?ref_=aip_sf_
                                                                            photo_spv_ofs_photo_d

Screencaptures taken December 15, 2023                                                                                                      6
  Amazon Photo Posts
  Plaintiffs:                                                                Defendants:
                                                                                                                                            Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 8 of 70




                                                                                URL:
 URL:
 https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablemedia.v1.dd      https://www.amazon.com/shop/alyssasheill/photo/amzn1.shop
 2b5db9-faa2-45eb-9809-8d31d9ee3cfb?ref_=aip_sf_photo_spv_ofs_photo_d           pablemedia.v1.5c88a484-05c4-4072-97a9-5932ac4135af?ref_
 “HoodieSet.2023.11.23” in U.S. Copyright Reg. No. VA0002380575                 =aip_sf_photo_spv_ofs_photo_d

Screencaptures taken December 15, 2023                                                                                                      7
    Amazon Photo Posts
    Plaintiffs:                                                        Defendants:
                                                                                                                                     Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 9 of 70




URL:
https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablemedia.   URL:
v1.9eaa0227-39fe-4e27-abb6-afe8c379ee63?ref_=aip_sf_photo_spv_ons_     https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppable
photo_d                                                                media.v1.5ce28d86-ba79-4dbd-bf67-8ae0d68f462e?ref_=aip_sf_pho
“GreyShortsSet.2023.10.10” in U.S. Copyright Reg. No. VA0002380575
                                                                       to_spv_ofs_photo_d
Screencaptures taken December 15, 2023                                                                                                8
    Amazon Photo Posts
    Plaintiffs:                                                      Defendants:
                                                                                                                                  Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 10 of 70




                                                                      URL:
URL:https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppable    https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppable
media.v1.eec0d8ab-3e4a-47a3-8231-820071e4ab7c?ref_=aip_sf_photo_s
                                                                      media.v1.5c88a484-05c4-4072-97a9-5932ac4135af?ref_=aip_sf_ph
pv_ofs_photo_d
“CargoSweats.2023.11.23” in U.S. Copyright Reg. No. VA0002380575      oto_spv_ofs_photo_d
Screencaptures taken December 15, 2023                                                                                            9
    Amazon Photo Posts
    Plaintiffs:                                          Defendants:
                                                                                                                      Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 11 of 70




URL:
https://www.amazon.com/shop/sydneynicole/photo/amzn1.s   URL:
hoppablemedia.v1.3dbcf480-5b5d-4277-869b-e4627c6d530     https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppableme
5?ref_=aip_sf_photo_spv_ons_photo_d                      dia.v1.89ba9d72-43b9-49a6-a1ce-0d2123be7f60?ref_=aip_sf_photo_s
“OfficeDesk.2023.09.19” in U.S. Copyright Reg. No.
VA0002380575
                                                         pv_ofs_photo_d
Screencaptures taken December 15, 2023                                                                                 10
  Amazon Photo Posts
  Plaintiffs:                                                              Defendants:
                                                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 12 of 70




 URL:
 https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablemedia.v1.     URL:
 5dab3fe3-7fc9-4c3d-ae47-154a5595843f?ref_=aip_sf_photo_spv_ons_photo_       https://www.amazon.com/shop/alyssasheill/photo/amzn1.shopp
 d
 “CreamPots.2023.11.21” in U.S. Copyright Reg. No. 0002380575
                                                                             ablemedia.v1.9a7dc580-9601-47c5-b882-8df8aa303328?ref_=ai
                                                                             p_sf_photo_spv_ofs_photo_d

Screencaptures taken December 15, 2023                                                                                                11
   Amazon Photo Posts
   Plaintiffs:                                          Defendants:
                                                                                                                       Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 13 of 70




URL:
https://www.amazon.com/shop/sydneynicole/photo/amzn1.   URL:
shoppablemedia.v1.13c9a71e-3d23-4f63-82d9-15ffe8519fa   https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppablemedi
8?ref_=aip_sf_photo_spv_ons_photo_d                     a.v1.67ba3ffc-8afc-4d41-af5c-6d982102e5c2?ref_=aip_sf_photo_spv_of
“TankDress.2023.05.4” in U.S. Copyright Reg. No.        s_photo_d
VA0002380575
Screencaptures taken December 15, 2023                                                                                12
   Amazon Photo Posts
   Plaintiffs:                                                     Defendants:
                                                                                                                                 Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 14 of 70




URL:                                                                URL:
https://www.amazon.com/shop/sydneynicole/photo/amzn1.shoppablem
edia.v1.fde435bd-0edb-4999-8191-86f57d6b8fda?ref_=aip_sf_photo_s    https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppableme
pv_ofs_photo_d                                                      dia.v1.519c959c-6493-4984-83cb-47d5d8f05d7d?ref_=aip_sf_photo_s
“WhiteTeddyJacket.2023.11.23” in U.S. Copyright Reg. No.            pv_ofs_photo_d
VA0002380575
Screencaptures taken December 15, 2023                                                                                          13
Instagram Content

Plaintiffs:                                 Defendants:




              Posted 12/7/2023                            Posted 12/11/2023
              “BlackOutfit.2023.12.07” in
              U.S. Copyright Reg. No.
              VA0002380575
                                                                               Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 15 of 70




                                                                              14
Instagram Content

Plaintiffs:                                  Defendants:




                Posted 10/27/2023                          Posted 12/21/2023
                                                                                Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 16 of 70




                “CarSitting.2023.10.27” in
                U.S. Copyright Reg. No.
                VA0002380575



                                                                               15
Instagram Content
Plaintiffs:                                      Defendants:




              URL:                                             URL:
              https://www.instagram.com/p/Cnzh                 https://www.instagram.com/
              2nSuOJb/?img_index=2
              Posted 1/24/2023
                                                               p/CoaIgJypZBI/?img_index
              Photos registered as                             =2
              “WhiteBodysuitOutfit.2023.01.24”
              and
              “WhiteBodysuitSelfie.2023.01.24”                 Posted 2/8/2023
              under U.S. Copyright Reg. No.
              VA0002380575
                                                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 17 of 70




                                                                                            16
Instagram Content
 Plaintiffs:                                               Defendants:
        @sydneynicolegiff
                                                                  @alyssasheill




                            URL:                                                  URL:
                            https://www.instagram.com/re                          https://www.instagram.com
                            el/CytzXCJuPJK/                                       /p/C1N-HU0Ns1y/
                            Posted 10/22/2023
                            Reg. No. PA 2-462-362,
                                                                                  Posted 12/23/2023
                            “PhoneCases.2023.10.22”
                                                                                                         Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 18 of 70




                                                                                                        17
Instagram Content
 Plaintiffs:                                                 Defendants:
                                                                  @alyssasheill   URLs:
        @sydneynicolegiff
                                                                                  https://www.instagram.com
                                                                                  /reel/C0RuwUHgnI-/

                                                                                  https://www.tiktok.com/@al
                                                                                  yssasheil/video/730728017
                                                                                  6403057963

                                                                                  Posted 11/30/2023




                            URL:
                            https://www.instagram.com/reel
                            /CrJGIY1AQ2P/
                            Posted 4/17/2023
                            Reg. No. PA 2-462-341,
                            “AcrylicPanner.2023.04.17”
                                                                                                                Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 19 of 70




                                                                                                               18
Instagram Content
 Plaintiffs:                                          Defendants:
     @sydneynicolegiff                                       @alyssasheill


                                                                             URLs:
                                                                             https://www.instagram.com
                                                                             /reel/C0C239qJyPq/

                                                                             https://www.tiktok.com/@al
                                                                             yssasheil/photo/73054884
                                                                             01543728427

                                                                             Posted 11/24/2023



                         URL:
                         https://www.instagram.com/
                         reel/C0Ag774u75Z/
                         Reg. No. VA 2380575
                         “TeddyChair.2023.10.10”,
                         “CreamPots.2023.11.21”,
                         “DetachablePans.2023.10.
                         10”,
                         “BedBench.2023.12.12”,
                         “WaveMirror.2023.11.21”,
                         etc.
                         Posted: 11/23/2023
                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 20 of 70




                                                                                                      19
Instagram Content
 Plaintiffs:                                            Defendants:
                                                                             URLs:
                                                                             https://www.instagram.com/
                                                             @alyssasheill   reel/Cz9He2dA9vc/
     @sydneynicolegiff

                                                                             https://www.tiktok.com/@al
                                                                             yssasheil/video/730326563
                                                                             8527569194
                                                                             Posted 11/22/2023




                         URL:
                         https://www.instagram.com/re
                         el/CyRl2FJOfpK/
                         Posted 10/11/2023
                         Reg. No. PA 2-462-357,
                         “Loungewear.2023.10.11”
                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 21 of 70




                                                                                                      20
Instagram Content
 Plaintiffs:                                          Defendants:

   @sydneynicolegiff                                         @alyssasheill




                                                                             URL:
                       URL:
                                                                             https://www.instagram.com/
                       https://www.instagram.com/re
                                                                             reel/CznD8_WtBQI/
                       el/Cp8KPyGgINO/
                       Posted: 3/18/2023                                     Posted 11/13/2023
                       Reg. No. PA 2-462-360,
                       “MakeupBag.2023.03.18”
                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 22 of 70




                                                                                                     21
Instagram Content
 Plaintiffs:                                          Defendants:

   @sydneynicolegiff                                         @alyssasheill




                                                                             URLs:
                       URL:
                                                                             https://www.instagram.com/
                       https://www.instagram.com/re
                                                                             reel/CzMwfXcp4Ab/
                       el/CyllBztOZeg/
                       Posted: 10/10/2023
                       Reg. No. PA 2-462-375,                                https://www.tiktok.com/@al
                       “TheTox.2023.10.19”                                   yssasheil/video/729735289
                                                                             2573338926
                                                                             Posted 11/3/2023
                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 23 of 70




                                                                                                      22
Instagram Content
 Plaintiffs:                                        Defendants:
   @sydneynicolegiff                                       @alyssasheill



                                                                           URLs:
                                                                           https://www.instagram.com/
                                                                           reel/CwxlLbAg0Lp/

                                                                           https://www.tiktok.com/@al
                                                                           yssasheil/video/727499024
                                                                           098350212
                                                                           Posted 9/4/2023




                       URL:
                       https://www.instagram.com/
                       reel/Cs9lfPCgc84/
                       Reg. No. PA 2-462-364,
                       “OliveTree.2023.06.01”
                       Posted: 6/1/2023
                                                                                                    Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 24 of 70




                                                                                                   23
Instagram Content
 Plaintiffs:                                        Defendants:
                                                                               Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 25 of 70




 Posted 12/17/2023
 “BowNails.2023.12.16” in U.S. Copyright Reg. No.
 VA0002380575                                             Posted 12/21/2023   24
Instagram Content


 Plaintiffs:          Defendants:           Plaintiffs:           Defendants:           Plaintiffs:     Defendants:




      Plaintiffs’ URL:                                    Defendants’ URL:
      https://www.instagram.com/reel/CoGDX2AgZ            https://www.instagram.com/reel/CyRYnDypxCk/
      1F/                                                 Posted 10/11/2023
                                                                                                                       Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 26 of 70




      Posted 1/31/2023
      Reg. No. PAu-4-211-810, “One Home Find
      You Need From Amazon”



                                                                                                                      25
TikTok Content
 Plaintiffs:                                           Defendants:

      @sydneynicolegiff                                      @alyssasheill


                                                                             URL:
                                                                             https://www.tiktok.com/
                                                                             @alyssasheil/video/730
                                                                             5137818223873322

                          URL:                                               Posted 11/24/2023
                          https://www.instagram.com/
                          reel/C0Ag774u75Z/

                          Posted 11/23/2023
                          Reg. No. VA 2380575
                          “TeddyChair.2023.10.10”,
                          “CreamPots.2023.11.21”,
                          “DetachablePans.2023.10.
                          10”,
                          “BedBench.2023.12.12”,
                          “WaveMirror.2023.11.21”,
                          etc.
                                                                                                   Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 27 of 70




                                                                                                  26
   TikTok Content
     Plaintiffs:                                                        Defendants:
                                                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 28 of 70




URL: https://www.tiktok.com/@sydneynicolegiff/photo/7311855271507283231
                                                                          URL: https://www.tiktok.com/@alyssasheil/photo/7312484543901060394
Posted 12/12/2023
                                                                          Posted 12/14/2023
Reg. No. VA0002380575, BestHomePurchases.2023.12.12,
GuestBathroom.2023.06.05, CoffeeTumbler.2023.12.12, CreamPots.2023.11.21,
FridgePlanner.2023.11.21, LivingRoomOverview.2023.06.17,
OfficeCouch.2023.12.12, OfficeTeddyChair.2023.11.23
                                                                                                                                         27
   TikTok Content
      Plaintiffs:                                                           Defendants:
                                                                                                                                            Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 29 of 70




                                                                            URL: https://www.tiktok.com/@alyssasheil/photo/7315864448411979054
URL: https://www.tiktok.com/@sydneynicolegiff/photo/7311855271507283231     Posted 12/23/2023
Posted 12/12/2023
Reg. No. VA0002380575, BestHomePurchases.2023.12.12,
GuestBathroom.2023.06.05, CoffeeTumbler.2023.12.12, CreamPots.2023.11.21,
FridgePlanner.2023.11.21, LivingRoomOverview.2023.06.17,                                                                                   28
OfficeCouch.2023.12.12, OfficeTeddyChair.2023.11.23
TikTok Content
  Plaintiffs:                                                    Defendants:
                                                                                                                            Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 30 of 70




                                                                     URLs:
                                                                     https://www.tiktok.com/@alyssasheil/video/732582081770987
                                                                     857
URL:
                                                                     https://www.tiktok.com/@alyssasheil/photo/732778944629467
https://www.tiktok.com/@sydneynicolegiff/video/7243837431005465902
                                                                     0634
Posted 6/12/2023
                                                                     Posted 1/19/2024, 1/25/2024
“EntryWay.2023.06.12” in U.S. Copyright Reg. No. VAu0002380575
                                                                                                                            29
   TikTok Content
     Plaintiffs:                                                          Defendants:
                                                                                                                                         Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 31 of 70




                                                                           URL:
URL: https://www.tiktok.com/@sydneynicolegiff/video/7313952802982661406    https://www.tiktok.com/@alyssasheil/video/7324469924951379243
Posted 12/18/2023                                                          Posted 1/15/2024
“BagandDecor.2023.12.18” in U.S. Copyright Reg. No. VA0002380575; Reg.     https://www.tiktok.com/@alyssasheil/video/7348885863029427502 30
No. PA 2-462-344, “BagsHaul.2023.12.18”                                    Posted 3/21/2024
TikTok Content
 Plaintiffs:                                                Defendants:




  URL:                                                   URL:
  https://www.tiktok.com/@sydneynicolegiff/photo/73144   https://www.tiktok.com/@alyssasheil/photo/73162825583067169
                                                                                                                        Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 32 of 70




  61964829330719                                         74
  Posted 12/20/2023                                      Posted 12/23/2023
  Reg. No. VA0002380575,
  “BowEarringsLayout.2023.12.19”,
  “BowEarringsOn.2023.10.19”
                                                                                                                       31
TikTok Content
 Plaintiffs:                                            Defendants:
                                                                                                                   Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 33 of 70




 URL:
 https://www.tiktok.com/@sydneynicolegiff/video/73077     URL:
 50514907991342                                           https://www.tiktok.com/@alyssasheil/video/731150097811143
 Posted 12/1/2023                                         4026
 Reg. No. PA 2-462-380, “DreamPairs.2023.12.01”           Posted 12/11/2023                                        32
TikTok Content
 Plaintiffs:                                                         Defendants:
                                                                                                                               Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 34 of 70




                                                                       URL:
 URL:                                                                  https://www.tiktok.com/@alyssasheil/video/730988252553340
 https://www.tiktok.com/@sydneynicolegiff/video/730922340632556676     8558
 3                                                                                                                             33
                                                                       Posted 12/7/2023
 Posted 12/5/2023
 Reg. No. PA 2-462-366, “GiftsUnder50.2023.12.05”
TikTok Content
 Plaintiffs:                                                      Defendants:
                                                                                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 35 of 70




 URL:                                                              URL:
 https://www.tiktok.com/@sydneynicolegiff/video/729996067546248    https://www.tiktok.com/@alyssasheil/video/730882164183910
 3246                                                              3274
 Posted 11/10/2023                                                 Posted 12/4/2023                                          34
 Reg. No. PA 2-462-378, “GiftsforHim.2023.11.10”
TikTok Content
 Plaintiffs:                                 Defendants:




                 URL:                                      URL:
                 https://www.tiktok.com/@                  https://www.tiktok.com/@
                 sydneynicolegiff/photo/72                 alyssasheil/photo/730696
                 90975812864445738                         4797533310250
                 Posted 10/17/2023
                 Reg. No. VA0002380575,                    Posted 11/29/2023
                 HoodiesLayout.2023.10.1
                 7,
                 KnitSetsLayout.2023.10.1
                 7,
                 PrimeDayOrder.2023.10.
                 17,
                 PrimeOrder.2023.10.17,
                 RompersLayout.2023.10.
                 17
                                                                                 Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 36 of 70




                                                                               35
 TikTok Content
    Plaintiffs:                                                   Defendants:
                                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 37 of 70




URL:                                                              URL:
https://www.tiktok.com/@sydneynicolegiff/video/7163305199489010   https://www.tiktok.com/@alyssasheil/video/7301367167
987                                                               172250923
Posted 11/7/2022                                                  Posted 11/14/2023
Reg. No. PA 2-462-377, “TeddyBench.2022.11.07”
                                                                                                                         36
 TikTok Content
    Plaintiffs:                                                 Defendants:
                                                                                                                            Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 38 of 70




URL:                                                            URL:
https://www.tiktok.com/@sydneynicolegiff/video/71937364000663   https://www.tiktok.com/@alyssasheil/video/72899329449347
83150                                                           51531
Posted 1/28/2023                                                Posted 10/14/2023
                                                                                                                           37
Reg. No. 2-462-383, “LampSetUp.2023.01.28”
 TikTok Content
    Plaintiffs:                                                    Defendants:
                                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 39 of 70




URL:                                                               URL:
https://www.tiktok.com/@sydneynicolegiff/video/72063309999265743   https://www.tiktok.com/@alyssasheil/video/721523628
78                                                                 8507661611
Posted 3/3/2023                                                    Posted 3/27/2023                                      38
Reg. No. PA 2-462-346, “CheckeredSet.2023.03.03”
 TikTok Content
     Plaintiffs:                                                    Defendants:




                                                                                                                Flower clip and
                                                                                                                white boots do
                                                                                                                not come with
                                                                                                                the featured
                                                                                                                skirt and shirt
                                                                                                                set.
                                                                                                                                   Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 40 of 70




URL: https://www.instagram.com/p/CpQ8kmNunEv/?img_index=2           URL:
Posted 3/1/2023                                                     https://www.tiktok.com/@alyssasheil/video/721154903
“SkirtOutfit2.2023.03.01” in U.S. Copyright Reg. No. VA0002380575
                                                                    5361045803
                                                                    Posted 3/17/2023                                              39
 TikTok Content
    Plaintiffs:                                                 Defendants:
                                                                                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 41 of 70




URL:                                                            URL:
https://www.tiktok.com/@sydneynicolegiff/video/72353147196981   https://www.tiktok.com/@alyssasheil/video/723643093432354
60942                                                           7434
Posted 5/20/2023                                                Posted 5/23/2023                                            40
Reg. No. PA 2-462-385, “FlowerTop.2023.05.20”
TikTok Content
 Plaintiffs:                                 Defendants:




                 URL:
                 https://www.tiktok.com/@                  URL:
                 sydneynicolegiff/photo/73                 https://www.tiktok.com/@al
                 04691302979980587                         yssasheil/photo/730578771
                 Posted 11/23/2023                         2320195882
                 Reg. No. VA0002380575,                    Posted 11/26/2023
                 “KnitSet.2023.11.17”,
                 “HoodieSet.2023.11.23”,
                 “CargoSweats.2023.11.2
                 3”,
                 “BlackJacket.2023.11.23”
                                                                                   Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 42 of 70




                                                                                  41
TikTok Content
 Plaintiffs:                                   Defendants:




                 URL:
                 https://www.tiktok.com/@syd                 URL:
                 neynicolegiff/photo/7313213                 https://www.tiktok.com/@al
                 829599595807                                yssasheil/photo/731330577
                 Posted 12/16/2023, circa 10                 6523595051
                 a.m. CT,                                    Posted 12/16/2023, circa 3
                 Reg. No. VA0002380575,                      p.m. CT
                 “ClosetBasics.2023.12.16”,
                 “GreyDress.2023.11.17”,
                 “WhiteBag.2023.12.16”,
                 “WhiteLongSleeve.2023.11.2
                 3”
                                                                                     Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 43 of 70




                                                                                    42
  Infringing Content Re-posted After Removal
     Defendants posted a photo that infringes upon Plaintiffs’ “CreamPots.2023.11.21” work protected by VA 0002380575 on at least seven
     occasions after the original content was removed pursuant to copyright infringement reports. The photo was reposted by Defendants
     on Amazon on 3/19 and 3/20 and on TikTok on 3/20, 3/21, 3/22, 3/30, and 4/15 of 2024. Original photo posts were posted 11/24/2023
     and removed by on or around 2/5/2024 pursuant to copyright infringement notice.


     Sample Screenshots:




URLs:
(1)
https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppablemedia.v1.37412140-6603-408c-8851-25c89e733689?ref_=aip_sf_photo_spv_ofs
                                                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 44 of 70




_mixed_d
(2)
https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppablemedia.v1.c79a8450-00da-43f2-80d2-19583924d72b?ref_=aip_sf_photo_spv_ofs
_photo_d
(3) https://www.tiktok.com/@alyssasheil/photo/7348995278285868330
(4) https://www.tiktok.com/@alyssasheil/photo/7349298154615016750
(5) https://www.tiktok.com/@alyssasheil/photo/7352217465255906602                                                                       43
(6) https://www.tiktok.com/@alyssasheil/photo/7357863799107407146
  Infringing Content Re-posted After Removal
     Defendants posted a photo that infringes upon Plaintiffs’ “FridgePlanner.2023.11.21” work protected by VA 0002380575 on at least
     three occasions after substantially similar original content was removed pursuant to copyright infringement reports. The photos were
     posted by Defendants on TikTok on 3/30, 4/15, and 4/17 of 2024. Original photo post was posted 12/1/2023 and removed by on or
     around 2/5/2024 pursuant to copyright infringement notice.


     Sample Screenshot:
                                                                                                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 45 of 70




URLs:
(1) https://www.tiktok.com/@alyssasheil/photo/7352217465255906602
(2) https://www.tiktok.com/@alyssasheil/photo/7357863799107407146
(3) https://www.tiktok.com/@alyssasheil/photo/7358891500744297770
                                                                                                                                            44
  Infringing Content Re-posted After Removal
     Defendants posted a photo that infringes upon Plaintiffs’ “EntryWay.2023.06.12” work protected by VA 0002380575 on at least two
     occasions after substantially similar original content was removed pursuant to copyright infringement reports. The photos were posted
     by Defendants on TikTok on 3/30 and 4/17 of 2024. Original photo post was posted 1/19/2024 and removed by on or around 2/5/2024
     pursuant to copyright infringement notice.


     Screenshots:
                                                                                                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 46 of 70




URLs:
(1) https://www.tiktok.com/@alyssasheil/photo/7358891500744297770
(2) https://www.tiktok.com/@alyssasheil/photo/7352217465255906602


                                                                                                                                         45
  Infringing Content Re-posted After Removal
     Defendants posted photos that infringe upon Plaintiffs’ “TankDress.2023.05.4” work protected by VA 0002380575 on at least four
     occasions after substantially similar original content was removed pursuant to copyright infringement reports. The photos were posted
     by Defendants on Amazon on 3/19 and on TikTok on 3/20, 3/21, and 3/31 of 2024. Original photo post was posted 12/3/2023 and
     removed by on or around 2/5/2024 pursuant to copyright infringement notice.


     Sample Screenshots:
                                                                                                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 47 of 70




URLs:
(1)
https://www.amazon.com/shop/alyssasheill/photo/amzn1.shoppablemedia.v1.e4216cda-bd71-4dea-be57-2c758875b6bd?ref_=aip_sf_photo_spv_ofs
_photo_d
(2) https://www.tiktok.com/@alyssasheil/photo/7348627874930281770
(3) https://www.tiktok.com/@alyssasheil/photo/7348995278285868330
                                                                                                                                         46
(4) https://www.tiktok.com/@alyssasheil/photo/7352681409393331499
  Infringing Content Re-posted After Removal
     Defendants posted a photo that infringes upon Plaintiffs’ “CoffeeTables.2023.06.14” work protected by VA 0002380575 after
     substantially similar original content was removed pursuant to a copyright infringement report. The photo was posted by Defendants
     on TikTok on 3/30/2024. The original photo post was posted 11/25/2023 and removed by on or around 2/5/2024 pursuant to copyright
     infringement notice.


     Screenshot:
                                                                                                                                           Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 48 of 70




URL:
https://www.tiktok.com/@alyssasheil/photo/7352217465255906602
                                                                                                                                          47
  Infringing Content Re-posted After Removal
     Defendants posted a photo that infringes upon Plaintiffs’ “AestheticBestsellers.2023.10.30” work protected by VA 0002380575 after
     substantially similar original content was removed pursuant to a copyright infringement report. The photo was posted by Defendants
     on TikTok on 3/22/2024. The original photo post was posted 11/24/2023 and removed by on or around 2/5/2024 pursuant to copyright
     infringement notice.

     Plaintiffs’ Photo:                                                             Defendants’ Post:
                                                                                                                                           Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 49 of 70




URL:
                                                                                                                                          48
https://www.tiktok.com/@alyssasheil/photo/7349298154615016750
  Infringing Content Re-posted After Removal
     Defendants posted a photo that infringes upon Plaintiffs’ “TeddyBench.2022.11.07” work protected by PA-462-377 and two works
     protected by VA 0002380575 after substantially similar video content was removed pursuant to a copyright infringement report. The
     photo was posted by Defendants on TikTok on 4/17/2024. The original video post was posted 11/14/2023 and removed by on or
     around 2/5/2024 pursuant to copyright infringement notice.


     Plaintiffs’ Video:                                                              Defendants’ Post:
                                                                                                                                          Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 50 of 70




URL:
https://www.tiktok.com/@alyssasheil/photo/7358891500744297770
                                                                                                                                         49
                                                       Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 51 of 70




                                                                                                                         50
Defendants’ posts before infringement of Plaintiffs:
Misappropriation

  Plaintiffs                          Defendants
                                                                            Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 52 of 70




                                      Alyssa dyed her hair from black to
 Sydney dyed her hair from black to   brown on 12/2/2023 and posted the
 brown on 9/27/2023 and posted the    same on social media platforms
 same on social media platforms


                                                                           51
Misappropriation

  Plaintiffs                                    Defendants
                                                                                           Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 53 of 70




 Sydney posted a photo showing her              Alyssa posted a video showing a new
 flower tattoo for the first time in over six   flower tattoo she obtained on 2/9/2024.
 months on 1/29/2024.
                                                                                          52
Website

                     Plaintiffs’         Defendants’     Defendaants’          Defendants’ TikTok
Plaintiffs’ TikTok
                     Instagram website   Tiktok and      Instagram website     website
website
                     since 5/27/2022     Instagram       starting 12/15/2023   starting 12/15/2023
since 5/27/2022
                                         website until
                                         12/15/2023
                                                                                                      Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 54 of 70




                                                                                                     53
              is a sample of 12 random influencer’s websites. Text, profile picture, font,
Website Below
        background, and color scheme are all completely customizable.



      Samples:
                                                                     Plaintiffs: Defendants:
                                                                                              Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 55 of 70




                                                                                             54
   Amazon Storefront
   Every element on an Amazon Storefront is customizable. In the photos of Sydney’s and Alyssa’s storefronts
   taken on November 25, 2023, Defendants’ Storefront includes (1) a duplicated banner, (2) profile picture (3)
   idea lists, and (4) posted photos.



                                                                   1
                     1


                                                                       2
Plaintiffs’ Amazon       2                                                                         Defendants’
Storefront on                                                                                      Amazon Storefront
November 25, 2023                                                                                  on November 25,
                                                                                                   2023




                                   3                                           3
                                                                                                                   Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 56 of 70




                               4                                                          4


                                                                                                                  55
Amazon Storefront - Banner & Style
Sample of 12 random influencer’s Amazon Storefront Banners. Banners can be any photo and are
customizable as photos or designs with text:
                                                                                                Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 57 of 70




                                                                                               56
                                     Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 58 of 70




                                                                                                       57
Amazon Storefront - Banner & Style




                                                                                   Defendants:
                                                         Plaintiffs:
Amazon Storefront - Banner & Style
                 Sydney changed her profile picture on
                 02/11/2024


     Previous:




     Previous:        Alyssa changed profile picture on 02/13/2024
                                                                      Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 59 of 70




                                                                     58
Amazon Storefront - Idea Lists




Plaintiffs’ Amazon Storefront    Defendants’ Amazon Storefront
Idea                             Idea List on November 28,
List on November 28, 2023        2023
                                                             Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 60 of 70




                                                            59
Amazon Storefront - Idea Lists

          Plaintiffs’ Amazon Storefront   Defendants’ Amazon Storefront
          Idea                            Idea
          List on November 28, 2023       List on November 28, 2023
                                                                           Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 61 of 70




                                                                          60
Amazon Merch on Demand
Plaintiffs:            Defendants:
                                            Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 62 of 70




    Posted 9/20/2023   Posted 10/26/2023

                                           61
Defendants’ Pattern of Copying
 Plaintiffs:                                            Defendants:
                                                               @alyssasheill
        @sydneynicolegiff




                            URL:                                               URL:
                            https://www.instagram.com                          https://www.instagram.com
                            /reel/C0ZXb0xudCD/                                 /reel/C0o6dXpAU_D/

                            Posted 12/3/2023                                   Posted 12/9/2023
                                                                                                       Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 63 of 70




                                                                                                     62
Defendants’ Pattern of Copying
 Plaintiffs:                                  Defendants:
                                                            URLs:
                                                            https://www.instagram.com
                                                            /reel/C0LBldVtbUx/

                                                            https://www.tiktok.com/@al
                                                            yssasheil/video/730632742
                                                            6013859118

                                                            Posted 11/27/2023




               URL:
               https://www.instagram.com/re
               el/C0KlqicOFRF/
               Posted 11/27/2023
               Reg. No. VA 2380575
               “CargoSweats.2023.11.23”,
               “BlackOutfit.2023.12.07”,
               “BlackJacket.2023.11.23”,
               “WhiteLongSleeve.2023.11.2
               3”
                                                                                    Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 64 of 70




                                                                                   63
Defendants’ Pattern of Copying
 Plaintiffs:                                        Defendants:

   @sydneynicolegiff
                                                           @alyssasheill




                                                                           URLs:
                                                                           https://www.instagram.com/
                       URL:                                                reel/Cz2iJgHtjdJ/
                       https://www.instagram.com/
                       reel/CxBMeAPukK1/                                   https://www.tiktok.com/@al
                       Posted 9/10/2023                                    yssasheil/video/730335924
                                                                           1178434859
                                                                           Posted 11/19/2023
                                                                                                        Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 65 of 70




                                                                                                    64
Defendants’ Pattern of Copying
 Plaintiffs:                                        Defendants:
   @sydneynicolegiff                                       @alyssasheill



                                                                           URLs:
                                                                           https://www.instagram.com/
                                                                           reel/Cw5U-_rrcKJ/

                                                                           https://www.tiktok.com/@al
                                                                           yssasheil/video/727536007
                                                                           4351119659
                                                                           Posted 9/7/2023



                       URL:
                       https://www.instagram.com/
                       reel/Cwlv5SpAQFu/
                       Posted: 8/30/2023
                                                                                                    Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 66 of 70




                                                                                                   65
Defendants’ Pattern of Copying
 Plaintiffs:                                        Defendants:
   @sydneynicolegiff                                       @alyssasheill




                       URL:                                                URL:
                       https://www.instagram.com/                          https://www.instagram.com/
                       reel/CuAu6F-gxBb/                                   reel/Cuaz89wN9XW/
                       Posted: 6/27/2023                                   Posted 7/7/2023
                                                                                                        Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 67 of 70




                                                                                                   66
Defendants’ Pattern of Copying
 Plaintiffs:                                        Defendants:
   @sydneynicolegiff                                       @alyssasheill




                       URL:                                                URL:
                       https://www.instagram.com/                          https://www.instagram.com/
                       reel/CrtZq_TAk-7/                                   reel/CuPdHxJAoEL/

                       Posted: 5/1/2023                                    Posted 7/3/2023
                                                                                                        Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 68 of 70




                                                                                                   67
 Defendants’ Pattern of Copying
    Plaintiffs:                                          Defendants:
                                                                                                                      Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 69 of 70




URL:                                                     URL:
https://www.tiktok.com/@sydneynicolegiff/video/7208612   https://www.tiktok.com/@alyssasheil/video/721093384914716
030301981994                                             5994
Posted 3/9/2023                                          Posted 3/15/2023                                            68
 Defendants’ Pattern of Copying
    Plaintiffs:                                          Defendants:
                                                                                                                      Case 1:24-cv-00423-RP Document 1-1 Filed 04/22/24 Page 70 of 70




URL:                                                     URL:
https://www.tiktok.com/@sydneynicolegiff/video/7185262   https://www.tiktok.com/@alyssasheil/video/720043393454553
079241129258                                             8347
Posted 1/5/2023                                          Posted 2/15/2023                                            69
